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                              THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

   AMERICAN SENIOR COMMUNITIES, L.L.C.,                  )
                                                         )
                     Plaintiff,                          ) Case No.: 1:17-cv-3273-TWP-DML
          v.                                             )
                                                         ) Honorable Tanya Walton Pratt
   JAMES BURKHART, et al.                                )
                                                         ) Honorable Debra McVicker Lynch
                     Defendants.                         )
                                                         )

           PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME
        TO MOVE FOR LEAVE TO AMEND THE COMPLAINT AND/OR TO JOIN
                           ADDITIONAL PARTIES

               Plaintiff American Senior Communities, LLC (“ASC” or “the Company”), by and

  through its attorneys and pursuant to Local Rule 6-1, respectfully requests an extension of time of

  60 days to file any motion for leave to amend its Complaint and/or join additional parties. In

  support of its motion, ASC states as follows:

         1. ASC filed its Complaint in this action on September 15, 2017, alleging violations of

  the Racketeer Influence and Corrupt Organizations Act (“RICO”), conspiracy to violate RICO,

  and several state law and common law causes of action. (Dkt. 1.) This matter was stayed pending

  the resolution of criminal proceedings against certain Defendants, which concluded in July 2018.

         2. The parties participated in an Initial Pretrial Conference on October 17, 2018. (Dkt.

  63.) On November 8, 2018, this Court issued an order approving the parties’ Case Management

  Plan. (Dkt. 67.)

         3. Pursuant to section III.D of the Case Management Plan, the deadline to file any motion

  for leave to amend the pleadings and/or to join additional parties is for April 17, 2019. (Id. at 6).
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         4. ASC seeks an extension of 60 days – to June 17, 2019 – to file any motion seeking

  leave to amend its Complaint and/or join additional parties.

         5. This extension is necessary for several reasons.            First and foremost, ASC is

  investigating recently-discovered information that has significant implications for a potential

  complaint amendment. ASC requires additional time to investigate this new information in order

  to determine whether and to what extent it requires ASC to amend its Complaint.

         6. Additionally, there are significant outstanding discovery issues that could impact a

  potential amended complaint. For example, ASC has issued subpoenas but has not yet received

  responses from numerous third parties, and in some cases is in ongoing negotiations with those

  third parties regarding the scope of their responses. The parties are also currently briefing the issue

  of whether Barnes & Thornburg must comply with ASC’s subpoena. Moreover, ASC has only

  recently received written discovery responses and small document productions from Defendants

  Burkhart and Werner, and will be engaging in ongoing discussions regarding those discovery

  responses, including the negotiation of search terms with Defendant Werner.

         7. This extension will not negatively impact other aspects of the case management plan,

  as fact discovery is not scheduled to close until August 19, 2019 – over two months after the

  deadline requested herein.

         8. ASC brings this motion in good faith and for good cause and not to delay proceedings.

         9. ASC’s counsel has discussed this motion with defense counsel of record, and defense

  counsel has consented to this motion.

         WHEREFORE, Plaintiff American Senior Communities, LLC respectfully requests that

  this Court grant this motion and extend the deadline for ASC to move for leave to amend the

  pleadings and/or to join additional parties to June 17, 2019.



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  Dated: April 12, 2019                    Respectfully submitted,

                                           /s/ Eli J. Litoff
                                           Ronald S. Safer (pro hac vice)
                                           Matthew C. Crowl (pro hac vice)
                                           Valarie Hays
                                           Kelly M. Warner (pro hac vice)
                                           Laura Kleinman (pro hac vice)
                                           Eli J. Litoff (pro hac vice)
                                           RILEY SAFER HOLMES & CANCILA LLP
                                           Three First National Plaza
                                           70 W. Madison, Suite 2900
                                           Chicago, Illinois 60602
                                           312-471-8700
                                           rsafer@rshc-law.com
                                           mcrowl@rshc-law.com
                                           vhays@rshc-law.com
                                           kwarner@rshc-law.com
                                           lkleinman@rshc-law.com
                                           elitoff@rshc-law.com

                                           Attorneys for American Senior Communities,
                                           L.L.C.




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on April 12, 2019, I caused the foregoing document to be filed using

  the Court’s electronic filing system, which will send notice of this filing to all counsel of record.

  Additionally, I will cause notice of this filing to be sent via U.S. Mail, postage prepaid, to Daniel

  Benson, Joshua Burkhart, Circle Consulting LLC, and Heartland Flag LLC at the following

  addresses:

         Daniel Benson
         Inmate No. 15431-028
         FPC Montgomery
         Maxwell Air Force Base
         Montgomery, AL 36112

         Joshua Burkhart
         10124 Cheswick Lane
         Fishers, IN 46037



                                                        /s/ Eli J. Litoff
                                                        Eli J. Litoff
                                                        Riley Safer Holmes & Cancila LLP
                                                        70 W. Madison, Suite 2900
                                                        Chicago, Illinois 60602
                                                        312-471-8700
                                                        elitoff@rshc-law.com

                                                        Attorney for American Senior Communities,
                                                        L.L.C.




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